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     Jane Doe 2




     Jane Doe 2
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     Jane Doe 2
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      Jane Doe 2




      Jane Doe 2




     Jane Doe 2




     Jane Doe 2
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     Jane Doe 2




     Jane Doe 2




     Jane Doe 2




     Jane Doe 2




     Jane Doe 2
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      Jane Doe 2




     Jane Doe 2




     Jane Doe 2
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      Jane Doe 2
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      Jane Doe 2




      Jane Doe 2
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      Jane Doe 2




      Jane Doe 2
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      Jane Doe 2




      Jane Doe 2




      Jane Doe 2
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      Jane Doe 2




      Jane Doe 2




      Jane Doe 2
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